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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS
        IT IS FURTHER ORDERED that                 DIVISION
                                   the application and this Order are sealed until
 UNITEDordered
 otherwise STATES OFCourt.
               by the AMERICA,                   )
                                                 )
                         Plaintiff,              )
 IT IS SO ORDERED                                )
        v.                                       )
                                                 ) NO. 1:20-cr-0096-TWP-DLP-07
  DESIRAE EVANS,                                 )
                     Date: 1/27/2017             )
                        Defendant.               )
                                                ________________________
                                          Hon. Tanya Walton Pratt, Judge
                                     ORDER
                                          United States District Court
                                          Southern District of Indiana
         Comes now the United States of America, by counsel, John E. Childress,

  Acting United States Attorney for the Southern District of Indiana, and Bradley

  A. Blackington, Assistant United States Attorney, and having filed its Motion to

  Continue Sentencing Hearing,

         And the Court having read the United States of America's Motion and

  being sufficiently advised in the premises now finds said motion should be

  GRANTED.

         IT IS THEREFORE ORDERED that the defendant’s sentencing hearing is

  continued and rescheduled for March 4, 2022 at 10:30 a.m. in

  Courtroom 344, Birch Bayh Federal Building and United States District

  Courthouse, 46 East Ohio Street, Indianapolis, Indiana.



        Date: 8/4/2021




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   registered counsel of record via
   CM/ECF
